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                                 CERTIFICATE OF SERVICE
       I, the undersigned attorney, certify that I electronically filed the Notice of Motion and

Plaintiff’s Uncontested motion to file a second amended complaint with the Clerk of Court of the

Northern District of Illinois using the CM/ECF system on 9/1/22. Pursuant to Fed R. Civ P. 5(b)

(3) and the Northern District of Illinois’ LR 5.9, I have hereby electronically served all filing

users with a copy of Plaintiff’s Notice of Motion.

       I, the undersigned attorney, certify that I have also served a paper copy of Plaintiff's

Notice of Motion as required by Fed R. Civ. P. 5 (a) by first class U.S. Mail, proper postage pre-

paid, deposited in the U.S. Mail depository at 16345 Harlem Ave Suite 250 Tinley Park Illinois

60477, before 5:00 pm.



                                                                      /s/ Zaid Abdallah
